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4
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5

6                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     THE UNITED STATES OF AMERICA,             ) No. 15-190 GEB
8
                     Plaintiff,                )
9                                              ) STIPULATION AND [PROPOSED]
            v.                                 ) ORDER EXONERATING MR. LEVY’S
10                                             ) UNSECURED APPEARANCE BOND
                                               )
11
     MICHAEL ROMANO,                           )
12
                                               )
                     Defendant.                ) Judge: Hon. Garland E. Burrell, Jr.
13   ================================)
14
            On August 31, 2018, defendant Michael Romano was sentenced to 37 months in prison. As
15

16
     his criminal case is now completed, the government, by and through AUSA Audrey Hemesath, and

17   Defendant Michael Romano, by and through his appointed CJA attorney Michael Long, hereby
18   stipulate that Mr. Romano’s unsecured $50,000 appearance bond (ECF document 31) should be
19
     exonerated.
20
     Dated: April 24, 2019                            Respectfully submitted,
21
                                                      /s/ Michael D. Long
22
                                                      MICHAEL D. LONG
23                                                    Attorney for Michael Romano

24
     Dated: April 24, 2019                            McGREGOR SCOTT
25
                                                      United States Attorney
26
                                                      /s/ Audrey Hemesath
27                                                    AUDREY HEMESATH
                                                      Assistant U.S. Attorney
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2
                                ORDER
3
            GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
4
            The Court orders that Mr. Romano’s unsecured appearance bond (ECF document 31) is
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     hereby exonerated.
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7    Dated: April 26, 2019

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